                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

TERRY LYNN KING,                                     )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      Case No. 3:18-cv-01234
                                                     )
FRANK STRADA, et al.,                                )      JUDGE CAMPBELL
                                                     )
       Defendants.                                   )


DONALD MIDDLEBROOKS,                                 )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      Case No. 3:19-cv-01139
                                                     )
FRANK STRADA, et al.,                                )      JUDGE CAMPBELL
                                                     )
       Defendants.                                   )


                      DEFENDANTS’ NOTICE OF STATUS UPDATE


       Pursuant to this Court’s orders (King, D.E. 227; Middlebrooks, D.E. 78), Defendants

hereby provide notice to the Court regarding the status of corrective actions to comply with the

recommendations in the Report and Findings of the Tennessee Lethal Injection Protocol

Investigation (“Report”) and Governor Lee’s directives. (King, D.E. 229-1, 229-2; Middlebrooks,

D.E. 81-1-81-2.)

       The Tennessee Department of Correction (TDOC) is currently working with counsel on

draft revisions to Tennessee’s execution procedures for lethal injection. The process of revising

the protocol is a priority, is active, and ongoing. The Commissioner of TDOC is currently not

prepared to provide a date when a new lethal injection protocol will be finalized.


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                                               Respectfully submitted,

                                               JONATHAN SKRMETTI
                                               Attorney General and Reporter

                                               /s/ Scott Sutherland
                                               SCOTT C. SUTHERLAND (29013)
                                               Deputy Attorney General

                                               CODY N. BRANDON (037504)
                                               Managing Attorney
                                               Assistant Attorney General

                                               MIRANDA JONES (36070)
                                               Senior Assistant Attorney General

                                               JOHN R. GLOVER (037772)
                                               Assistant Attorney General


                                               Law Enforcement and
                                               Special Prosecutions Div.
                                               P.O. Box 20207
                                               Nashville, Tennessee 37202-0207
                                               Off. (615) 532-7400
                                               Fax (615) 532-4892
                                               Scott.Sutherland@ag.tn.gov
                                               Cody.Brandon@ag.tn.gov
                                               Miranda.Jones@ag.tn.gov
                                               John.Glover@ag.tn.gov
                                               David.Wickenheiser@ag.tn.gov
                                               Counsel for Defendants




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                                CERTIFICATE OF SERVICE
       I certify that on the 29th day of January, 2024, a copy of the foregoing was filed and

served via the Court’s CM/ECF system on the following counsel for Middlebrooks:

Amy Harwell                                         Nashville, TN 37203
Houston Goddard                                     615-695-6906
Katherine Dix                                       Amy_Harwell@fd.org
Katheryn Thomas                                     houston_goddard@fd.org
Kelley Henry                                        Katherine_Dix@fd.org
Marshall Jensen                                     kit_thomas@fd.org
Richard Tennent                                     Kelley_Henry@fd.org
Federal Public Defender’s Office (MDTN)             Marshall_Jensen@fd.org
810 Broadway, Suite 200,                            Richard_Tennent@fd.org

And on the following counsel for King:

Alex Kursman                                        Bass, Berry & Sims 150 Third Ave. South
Lynne Leonard                                       Nashville, TN 37201
Anastassia Baldridge                                (615) 742-6200
Hayden Nelson-Major                                 desquivel@bassberry.com
Assistant Federal Defenders                         smiller@bassberry.com
Federal Community Defender for the E.D.             jeremy.gunn@bassberry.com
Penn.                                               michael.tackeff@bassberry.com
Suite 545 West, The Curtis
601 Walnut St.                                      Alice Haston
Philadelphia, PA 19106                              Amy Rao Mohan
(215) 928-0520                                      Christopher C. Sabis
alex_kursman@fd.org                                 Sherrard Roe Voight & Harbison, PLC
lynne_leonard@fd.org                                150 Third Ave. South
ana_baldridge@fd.org                                Suite 1100
hayden_nelson-major@fd.org                          Nashville, TN 37201
                                                    (615) 742-4539
David Esquivel                                      ahaston@srvhlaw.com
Sarah Miller
                                                    amohan@srvhlaw.com
Jeremy Gunn
                                                    csabis@srvhlaw.com
Michael Tackeff




                                                            /s/ Scott Sutherland
                                                            SCOTT C. SUTHERLAND (29013)
                                                            Deputy Attorney General




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